                               Case 25-10623-LMI                  Doc 13      Filed 01/30/25          Page 1 of 2




           Debtor name VERA RESTAURANTS INC.


           United States Bankruptcy Court for the: Southern District of Florida


           Case number (If known):   25-10623-LMI

                                                                                                               Check if this is an
                                                                                                               amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                    12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.


       Name of creditor and           Name, telephone    Nature     Indicate if     Amount of             Total       Deduction       Unsecured
       complete                       number, and        of the     claim is        unsecured claim       claim, if   for value of    claim
       mailing address,               email address of   claim      contingent,                           partially   collateral or
       including zip code             creditor                      unliquidated,                         secured     setoff
                                      contact                       or disputed

 1     Performance Food                                  Trade                      $4,575.54
       Service                                           credit
       3595 NW 125 St
       Miami FL 33167                                    or
 2     Belmont                                           Trade                      $3,886.75
       International                                     credit
       Trading Corp                                      or
       545 W 18 St
       Hialeah FL 3301
 3     Produce Partners                                  Trade                      $11,181.80
       14001 NW 112                                      credit
       Ave #5                                            or
       Hialeah FL
       33167

 4     Sysco                                             Trade                      $7,839.29
       12500 Sysco                                       credit
       Way                                               or
       Medley FL
       33178

 5     Everest Business                                  Loan                       $61,033.44
       Funding
       2001 NW 107
       Ave #300
       Miami FL 33172
                                Case 25-10623-LMI      Doc 13   Filed 01/30/25   Page 2 of 2




 6      McKenzie                              Loan                  $57,441.00
        Capital LLC
        3390 Mary St
        #310
        Miami FL 33133
 7      Mr Green                              Trade                 $1,402.20
        Produce                               credit
        2450 NW 116 St                        or
        #1
        Miami FL 33167
 8      Cozzi Bros                            Trade                 $719.04
        8430 Brin Mawr                        credit
        Ave #800                              or
        Chicago IL
        60631
 9      Paramount Food                        Trade                 $10,672.75
        Group LLC                             credit
        1301 SW 85 Ct                         or
        Miami, FL 33144
 10     Hidalgo Imports                       Trade                 $503.52
        6040 NW 84                            credit
        Ave.                                  or
        Miami, FL 33139




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